            Case 3:19-cv-07071-SI         Document 426   Filed 02/07/25     Page 1 of 11



 1   TUCKER ELLIS LLP
     David J. Steele SBN 209797
 2   david.steele@tuckerellis.com
     Howard A. Kroll SBN 100981
 3   howard.kroll@tuckerellis.com
     Steven E. Lauridsen SBN 246364
 4   steven.lauridsen@tuckerellis.com
     515 South Flower Street
 5   Forty-Second Floor
     Los Angeles, CA 90071
 6   Telephone:        213.430.3400
     Facsimile:        213.430.3409
 7
     Attorneys for Plaintiffs,
 8   META PLATFORMS, INC. (fka FACEBOOK, INC.)
     and INSTAGRAM, LLC
 9

10                                      UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12   FACEBOOK, INC. and INSTAGRAM, LLC,            Case No. 3:19-cv-07071-SI
13                        Plaintiffs,              PLAINTIFFS’ NOTICE OF MOTION AND
                                                   MOTION FOR AN ORDER HOLDING
14          v.                                     DEFENDANT LEASCEND TECHNOLOGY CO.,
                                                   LTD. F/K/A XIAMEN 35.COM INTERNET
15   ONLINENIC INC.; DOMAIN ID SHIELD              TECHNOLOGY CO., LTD. IN CIVIL
     SERVICE CO., LIMITED; and XIAMEN              CONTEMPT AND IMPOSING CONTEMPT
16   35.COM INTERNET TECHNOLOGY CO.,               SANCTIONS
     LTD.,
17                                                 MEMORANDUM OF POINTS AND
                          Defendants.              AUTHORITIES IN SUPPORT
18
                                                   DATE:        March 14, 2025
19                                                 TIME:        10:00 a.m.
                                                   CTRM:        1 – 17th Floor
20
                                                   Hon. Susan Illston
21

22

23

24

25

26

27

28

                                                              PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                Case No. 3:19-cv-07071-SI
             Case 3:19-cv-07071-SI         Document 426        Filed 02/07/25      Page 2 of 11


 1           TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
 2           PLEASE TAKE NOTICE that, on March 14, 2025 at 10:00 a.m., or as soon thereafter as this
 3   matter may be heard, in the courtroom of the Honorable Susan Illston of the United States District Court
 4   for the Northern District of California, located at 450 Golden Gate Avenue, Courtroom 1 – 17th Floor,
 5   San Francisco, CA 94102, Plaintiffs Facebook, Inc. and Instagram LLC (collectively, “Plaintiffs”) will
 6   and hereby do move for an order holding Defendant Leascend Technology Co., Ltd. fka Xiamen 35.Com
 7   Internet Technology Co., Ltd. (“35.CN”) in civil contempt of court due to 35.CN’s failure to deposit
 8   $5.5 million (USD) into a U.S. escrow account by no later than January 31, 2025 to satisfy any
 9   forthcoming judgment from this Court, as required by the Court’s December 20, 2024 order. ECF No. 420
10   at 2 ¶ 1.
11           Plaintiffs respectfully request that, in crafting a contempt citation, the Court (1) seize the 35.com
12   domain name asset from 35.CN—while allowing 35.CN to continue to use the domain name to operate
13   its business—by ordering Verisign, Inc. (the registry for the domain name) to lock the 35.com domain
14   name and to deposit with the Court documents sufficient to establish the Court’s control and authority
15   regarding the disposition of the registration and use of the domain name; (2) enter the asset freeze
16   requested in Plaintiffs’ prior ex parte application for a temporary restraining order freezing assets (ECF
17   Nos. 408, 413, 414) as restated in the proposed order accompanying this motion, with the addition of
18   (a) an accounting requirement for 35.CN’s possible sale of its registrar business, and (b) an order to the
19   Internet Corporation for Assigned Names and Numbers to withhold its consent and object to any request
20   for assignment of the related registrar accreditation; and (3) award Plaintiffs’ their reasonable attorneys’
21   fees both in bringing this motion and bringing the underlying ex parte application for a TRO.
22           This motion is based on this Notice of Motion and Motion, the Memorandum of Points and
23   Authorities in Support of the Motion, the Court’s December 20, 2024 order at ECF No. 420, the
24   Declaration of Howard A. Kroll (“Kroll Decl.”), the [Proposed] Order, any oral argument heard by the
25   Court, such additional evidence as may be submitted to the Court, matters as to which the Court may take
26   judicial notice, and such other matters as the Court deems proper.
27

28

                                                           1
                                                                    PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                      Case No. 3:19-cv-07071-SI
           Case 3:19-cv-07071-SI   Document 426   Filed 02/07/25       Page 3 of 11


 1

 2   DATED: February 7, 2025                  Tucker Ellis LLP
 3                                            By: /s/David J. Steele
 4                                                 David J. Steele
 5                                                 Howard A. Kroll
                                                   Steven E. Lauridsen
 6
                                                   Attorneys for Plaintiffs,
 7                                                 META PLATFORMS, INC. (fka
                                                   FACEBOOK, INC.)
 8                                                 and INSTAGRAM, LLC
 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28

                                              2
                                                       PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                         Case No. 3:19-cv-07071-SI
            Case 3:19-cv-07071-SI         Document 426         Filed 02/07/25     Page 4 of 11



 1                               MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          The Court entered a direct and specific order on December 20, 2024, requiring Defendant Leascend
 4   Technology Co., Ltd. fka Xiamen 35.Com Internet Technology Co., Ltd. (“35.CN”) to deposit
 5   $5.5. million (USD) into a U.S. escrow account by no later than January 31, 2025 to satisfy any
 6   forthcoming judgment from this Court. ECF No. 420 (“Escrow Order”) at 2 ¶¶ 1-2. The Court also made
 7   it expressly clear what consequences 35.CN would face if it failed to deposit the money as ordered—
 8   namely, “the defendants will be in contempt of court.” ECF No. 423 (“TRO Hr’g Tr.”) at 16:7-11 (Kroll
 9   Decl. Ex. 1). Unfortunately, because 35.CN violated the Escrow Order, it is time for 35.CN to bear those
10   consequences.
11          As of the filing of this motion on February 7, 2025, 35.CN has neither deposited the court-ordered
12   funds nor provided any explanation for its non-compliance. Accordingly, the Court should hold 35.CN in
13   civil contempt of court for 35.CN’s failure to comply with the Escrow Order. Because civil contempt
14   citations should be crafted to (a) coerce compliance with the Court’s order and (b) compensate Plaintiffs
15   for their injury from the contemptuous conduct, Plaintiffs respectfully request that the Court enter the
16   concurrently lodged proposed order that seeks the following relief: (1) that the Court seize the 35.com
17   domain name asset from 35.CN—while allowing 35.CN to continue to use the domain name to operate
18   its business—by ordering Verisign, Inc. (the registry for the domain name) to lock the 35.com domain
19   name and to deposit with the Court documents sufficient to establish the Court’s control and authority
20   regarding the disposition of the registration and use of the domain name; (2) that the Court enter the asset
21   freeze requested in Plaintiffs’ prior ex parte application for a temporary restraining order freezing assets
22   (ECF Nos. 408, 413, 414), with the addition of (a) an accounting requirement for 35.CN’s possible sale
23   of its registrar business, and (b) an order to the Internet Corporation for Assigned Names and Numbers
24   (“ICANN”) to withhold its consent and object to any request for assignment of the related registrar
25   accreditation; and (3) that Plaintiffs be awarded their reasonable attorneys’ fees both in bringing this
26   motion and bringing the underlying ex parte application for a TRO.
27

28

                                                                    PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                      Case No. 3:19-cv-07071-SI
            Case 3:19-cv-07071-SI         Document 426        Filed 02/07/25      Page 5 of 11


 1   II.    A CIVIL CONTEMPT CITATION IS APPROPRIATE.
 2          A.      35.CN violated a specific and definite order and should thus be held in contempt.
 3          Failure to obey the terms of a court order constitutes contempt of court. See generally Int’l Union,
 4   United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 831-32 (1994). Federal courts have both inherent
 5   and statutory authority to punish such contempt and to coerce compliance with their orders. Id. at 831-32;
 6   18 U.S.C. §§ 401-402. “The standard for finding a party in civil contempt is well settled: The moving
 7   party has the burden of showing by clear and convincing evidence that the contemnors violated a specific
 8   and definite order of the court.” In re Bennett, 298 F.3d 1059, 1069 (9th Cir. 2002). This requires showing
 9   “only that the defendant has failed to comply with a valid court order.” United States v. Rylander, 656
10   F.2d 1313, 1318 (9th Cir. 1981), rev’d on other grounds, 460 U.S. 752 (1983). The moving party “need
11   not prove that the defendant is able to comply.” Id. Further, “[t]he contempt ‘need not be willful,’ and
12   there is no good faith exception to the requirement of obedience to a court order.” In re Dual-Deck Video
13   Cassette Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993) (quoting In re Crystal Palace
14   Gambling Hall, Inc., 817 F.2d 1361, 1365 (9th Cir. 1987)). Thus, “intent is not an issue.” Donavan v.
15   Mazzola, 716 F.2d 1226, 1240 (9th Cir. 1983). Once the movant has established by clear and convincing
16   evidence that a specific and definite order has been violated, “[t]he burden then shifts to the contemnors
17   to demonstrate why they were unable to comply.” Fed. Trade Comm’n v. Enforma Nat. Prods., Inc., 362
18   F.3d 1204, 1211 (9th Cir. 2004) (citation and internal quotation marks omitted).
19          Here, 35.CN violated a specific and definite court order—the Escrow Order—by not depositing
20   $5.5 million into a U.S. escrow account by January 31, 2025. A civil contempt citation is therefore
21   appropriate.
22                  1.     The Court entered a specific and definite order.
23          The Court entered a “specific and definite” order. In re Bennett, 298 F.3d at 1069. Such an order
24   “clearly describe[s] prohibited or required conduct.” See Gates v. Shinn, 98 F.3d 463, 468 (9th Cir. 1996)
25   (“If an injunction does not clearly describe prohibited or required conduct, it is not enforceable by
26   contempt.”); see also Taggart v. Lorenzen, 587 U.S. 554, 561 (2019) (“civil contempt usually is not
27   appropriate unless ‘those who must obey’ an order ‘will know what the court intends to require and what
28   it means to forbid’”) (quoting Int’l Longshoremen’s Ass’n, Local 1291 v. Phila. Marine Trade Ass’n, 389

                                                         2
                                                                   PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                     Case No. 3:19-cv-07071-SI
            Case 3:19-cv-07071-SI           Document 426       Filed 02/07/25     Page 6 of 11


 1   U.S. 64, 76 (1967)). This is an objective standard such that a party’s subjective belief concerning the
 2   requirements of the order will not insulate that party from civil contempt if that belief was objectively
 3   unreasonable. See Taggart, 587 U.S. at 561.
 4          Here, the Court ordered that:
 5              1. 35.CN shall deposit, on or before January 31, 2025, $5.5 million (USD) into
 6                  an escrow account in the United States held by an escrow agent to be
 7                  security to satisfy any judgment issued by the Court.
 8              2. 35.CN shall provide Plaintiffs proof of the deposit into escrow, including
 9                  the account information and name of the escrowing agent.
10              3. 35.CN shall not sell or transfer the registrar business or accreditation (IANA
11                  No. 4163) currently held by 35.CN’s wholly-owned subsidiary Xiamen
12                  35.com Information Co., Ltd. (“35.com”), including any assets of that
13                  registrar business, or sell, transfer, or dispose of the shares or ownership
14                  interests in 35.com Info, until 35.CN has deposited the $5.5 million into an
15                  escrow account pursuant to paragraph 1, and 35.CN has provided Plaintiffs
16                  notice pursuant to paragraph 2.
17   Escrow Order, ECF No. 420, at 2.
18          Relevant here, Paragraph 1 of the Escrow Order clearly describes required conduct, i.e., requiring
19   35.CN to deposit $5.5 million (USD) into a United States escrow account by no later than January 31,
20   2025.1 Id. Accordingly, the Court entered a “specific and definite” order requiring such deposit.
21                  2.      35.CN violated the Escrow Order by not depositing funds by January 31.
22          Clear and convincing evidence demonstrates that 35.CN violated the Escrow Order because 35.CN
23   has not deposited $5.5 million into escrow on or by January 31, 2025. The clear and convincing evidence
24   standard requires the moving party to “place in the ultimate factfinder an abiding conviction that the truth
25   of its factual contentions are [sic] ‘highly probable.’” Colorado v. New Mexico, 467 U.S. 310, 316 (1984).
26   Factual contentions are highly probable if the evidence offered in support of them “instantly tilt[s] the
27
     1
28    Prior to entering the order, the Court confirmed that 35.CN’s counsel had approved its contents. Kroll
     Decl. Ex. 2.
                                                          3
                                                                    PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                      Case No. 3:19-cv-07071-SI
            Case 3:19-cv-07071-SI          Document 426        Filed 02/07/25      Page 7 of 11


 1   evidentiary scales in the affirmative when weighed against the evidence [the non-moving party] offered
 2   in opposition.” Id.
 3          As of the filing of this motion, 35.CN has not substantively responded to Plaintiffs’ repeated emails
 4   to obtain an update from 35.CN’s attorney and proof of the ordered deposit. Kroll Decl. ¶¶ 4-14, Exs. 3-13.
 5   In particular, Plaintiffs’ counsel requested an update concerning 35.CN’s compliance with the Escrow
 6   Order on January 21 but received no response. Id. ¶¶ 4-5, Ex. 3. Plaintiffs’ counsel again followed up on
 7   January 27, 28, and 29 and again received no substantive response. Id. ¶¶ 5-8, Exs. 4-9. After the
 8   January 31 deadline to comply with the Escrow Order passed without 35.CN providing any update,
 9   Plaintiffs’ counsel reached out again, at which point 35.CN’s attorney finally replied on the evening of
10   February 3, 2025 that he is “not getting any updates from [his] client.” Id. ¶¶ 9-11, Exs. 10-11. While
11   35.CN’s attorney speculated that the lack of updates may be due to Chinese New Year celebrations, he
12   acknowledged that the seven-day holiday in China ended on February 4, 2025. Id. Ex. 11. Plaintiffs then
13   informed 35.CN that they intended to file this motion, yet 35.CN and its counsel have still failed to provide
14   any update. Id. ¶¶ 12-14, Exs. 12-13.
15          Regardless of the suggestion that the holiday in China may be delaying “updates” from 35.CN, it
16   is highly unlikely that 35.CN deposited the requisite $5.5 million into a U.S. escrow account without
17   informing its counsel. Indeed, 35.CN represented during the hearing on Plaintiffs’ TRO application that
18   the settlement funds 35.CN had been contemplating transferring to the United States “were going to come
19   through [35.CN’s counsel’s] firm.” Hr’g Tr. at 17:16-23. Moreover, the Escrow Order requires 35.CN to
20   provide Plaintiffs proof of the deposit once the funds were in escrow.2 Escrow Order at 2 ¶ 2. While
21   Plaintiffs recognize that the Escrow Order did not set forth a firm deadline by which to provide proof of
22   the deposit, it is highly unlikely that 35.CN complied with the Court’s order to deposit funds but then
23   delayed complying with the notice provision.
24          Accordingly, it is highly probable that 35. CN has not deposited $5.5 million into escrow and
25   therefore should be held in contempt for violating the Escrow Order.
26

27
     2
28    Given the lack of a firm deadline to provide proof of the escrow deposit, Plaintiffs do not move for
     contempt based on 35.CN’s violation of that portion of the Escrow Order at this time.
                                                          4
                                                                    PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                      Case No. 3:19-cv-07071-SI
            Case 3:19-cv-07071-SI          Document 426         Filed 02/07/25      Page 8 of 11


 1          B.      The Court should exercise its broad discretion in crafting appropriate remedies for
 2                  35.CN’s civil contempt.
 3          Courts have broad discretion to fashion a remedy for civil contempt. United States v. United Mine
 4   Workers of Am., 330 U.S. 258, 307 (1947). “Sanctions for civil contempt can be imposed for one or both
 5   of two distinct purposes: (1) to compel or coerce obedience to a court order; and (2) to compensate the
 6   contemnor’s adversary for injuries resulting from the contemnor’s noncompliance.” Shuffler v. Heritage
 7   Bank, 720 F.2d 1141, 1147 (9th Cir. 1983) (citations omitted). Where the purpose is to coerce compliance,
 8   the district court exercises its discretion in crafting the remedy such that it “consider[s] the character and
 9   magnitude of the harm threatened by continued contumacy, and the probable effectiveness of any
10   suggested sanction in bringing about the result desired.” United Mine Workers of Am., 330 U.S. at 304.
11   This discretion is broad, and the Court may craft other appropriate remedies, such as a seizure order, when
12   traditional remedies like “incarceration and fines would not adequately address the harm to Plaintiff[s].”
13   See Suntech Power Holdings Co., Ltd. v. Shenzhen Xintian Solar Tech. Co., Ltd., No. 08-cv-01582-H,
14   2008 WL 11337380, at *1 (S.D. Cal. 2008). The Court may do so in reliance “on its inherent power under
15   traditional rights and any power under the [substantive law].” Id. at *3.
16                  1.      The Court should issue an order seizing the 35.com domain name asset.
17          As discussed above, courts have crafted seizure and similar orders by looking to the equitable
18   remedies available in the underlying action. See, e.g., id.; Title Tyrrell Promotions Ltd. v. Exoto Inc.,
19   No. 2:05-cv-06539-SVW, 2013 WL 12575619, at *1 (C.D. Cal. Apr. 13, 2013); Jerry’s Famous Deli, Inc.
20   v. Papanicolaou, 383 F.3d 998, 1001, 1004-05 (9th Cir. 2004). Further, the United States Supreme Court
21   has “repeatedly recognized the power of a federal court to issue such commands under the All Writs Act
22   as may be necessary or appropriate to effectuate and prevent the frustration of orders it has previously
23   issued in its exercise of jurisdiction otherwise obtained.” United States v. New York Tel. Co., 434 U.S.
24   159, 172 (1977).
25          Accordingly, the Court has the authority to freeze property to preserve the status quo and to prevent
26   the dissipation of assets, a substantial risk here given 35.CN’s failure to comply with the Court’s order to
27   escrow $5.5 million to satisfy any judgment of this Court. See United States v. First Nat’l City Bank, 379
28   U.S. 378, 384 (1965). In fact, Rule 64(a) of the Federal Rules of Civil Procedure makes available to district

                                                           5
                                                                     PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                       Case No. 3:19-cv-07071-SI
             Case 3:19-cv-07071-SI         Document 426         Filed 02/07/25       Page 9 of 11


 1   courts “all remedies providing for seizure of person or property for the purpose of securing satisfaction of
 2   the judgment ultimately to be entered in the action.” In addition, Rule 64(b) lists attachment as one such
 3   available remedy, along with “other corresponding or equivalent remedies, however designated.” See
 4   Granny Goose Foods, Inc. v. Brotherhood of Teamsters Local 70, 415 U.S. 423, 436 n.10 (1974) (“[L]ong-
 5   settled federal law provide[s] that in all cases in federal court, . . . state law is incorporated to determine
 6   the availability of prejudgment remedies for the seizure of person or property to secure satisfaction of the
 7   judgment ultimately entered.”). In a trademark case, an asset freeze order is essentially a writ of attachment
 8   under California state law. Microsoft Corp. v. A-Tech Corp., 855 F. Supp. 308, 312 (C.D. Cal. 1994).
 9   35.CN’s obligation to pay any judgment in this action is therefore a claim subject to attachment under
10   California law. See Cal. Civ. Proc. Code § 483.010; see also id. § 492.010 (attachment involving a foreign
11   corporation not qualified to do business in California); id. at § 492.040 (“a writ of attachment issued under
12   this chapter may be levied upon any property of a defendant for which a method of levy is provided” by
13   the relevant California statutes); see also N. Hollywood Marble Co. v. Superior Court, 157 Cal. App. 3d
14   683, 690 (Cal. App. 2d Dist. 1984) (explaining that attachment is used to ensure that the alleged debtor’s
15   assets are not dissipated prior to the enforcement of a judgment).
16          35.CN’s failure to escrow $5.5 million as ordered shows that it has no intention of satisfying this
17   Court’s Escrow Order or any eventual judgment. Plaintiffs therefore respectfully request that the Court
18   seize the 35.com domain name asset from 35.CN—while allowing 35.CN to continue to use the domain
19   name to operate its business—by ordering Verisign, Inc. (the U.S. based registry for the domain name) to
20   lock the 35.com domain name to prevent its transfer. Plaintiffs further request that the Court order
21   Verisign, Inc. to deposit with the Court documents sufficient to establish the Court’s control and authority
22   regarding the disposition of the registration and use of the domain name.
23                  2.      The Court should issue the asset freeze Plaintiffs previously requested, with
24                          the addition of (a) an accounting requirement for 35.CN’s possible sale of its
25                          registrar business, and (b) an order to ICANN to withhold its consent and
26                          object to any request for assignment of the related registrar accreditation.
27          Plaintiffs previously filed an ex parte application for a temporary restraining order to freeze
28   35.CN’s assets due to the impending sale of its registrar business, a clear attempt by 35.CN to dissipate

                                                           6
                                                                      PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                        Case No. 3:19-cv-07071-SI
            Case 3:19-cv-07071-SI         Document 426         Filed 02/07/25      Page 10 of 11


 1   its assets prior to entry of judgment. See generally App. for TRO, ECF No. 408. During the hearing on
 2   that application, the Court specifically ordered 35.CN to deposit money into escrow to avoid having to
 3   interfere with 35.CN’s pending sale or otherwise freeze its assets. Hr’g Tr. at 6:10-7:12, 15:13-16:6. But
 4   35.CN has defied the Court’s Escrow Order and has not deposited any funds, thus rendering the risk that
 5   35.CN will dissipate its assets all the more real. Accordingly, for the reasons stated in Plaintiffs’ prior
 6   application for a TRO, the court should enter the asset freeze previously requested—and as restated in the
 7   proposed order for this motion—to ensure that 35.CN can satisfy any judgment. In connection with the
 8   asset freeze originally requested, 35.CN should also be ordered to provide an accounting for the sale of its
 9   subsidiary 35.com Info and the related registrar business—if the sale transpired—including all documents
                                                                                          3
10   concerning the sale and the source and disposition of the funds related to that sale. In light of the possible
11   sale of 35.CN’s registrar business, Plaintiffs also request as part of the asset freeze that the Court order
12   ICANN to withhold its consent and object to any request for assignment of the related registrar
13   accreditation. Plaintiffs respectfully request that the Court maintain this freeze until 35.CN complies with
14   the Escrow Order or satisfies any judgment of this Court.
15                  3.      Plaintiffs should be awarded their fees in bringing this motion and for their
16                          underlying application for a TRO.
17          A Court may award a party its costs and fees expended in bringing a motion for civil contempt.
18   Portland Feminist Women’s Health Ctr. v. Advocates for Life, Inc., 877 F.2d 787, 790 (9th Cir. 1989).
19   Unlike for criminal contempt, the contemnor need not have acted willfully for the district court to award
20   attorneys’ fees to the moving party. Perry v. O’Donnell, 759 F.2d 702, 705-06 (9th Cir. 1985) (“It matters
21   not whether the disobedience is willful, the cost of bringing the violation to the attention of the court is
22   part of the damages suffered by the prevailing party and those costs would reduce any benefits gained by
23   the prevailing party from the court’s violated order.”) (quoting Cook v. Ochsner Found. Hosp., 559 F.2d
24   270, 272 (5th Cir. 1997)).
25          Plaintiffs respectfully request an award of their reasonable attorneys’ fees and costs not only for
26

27   3 In crafting contempt orders, district courts may order an accounting. See, e.g., Exoto Inc., 2013 WL
28   12575619, at *1, *6-*7 (ordering audited accounting of profits for sales of allegedly infringing products
     after preliminary injunction issued) (citing Papanicolaou, 383 F.3d at 1001, 1005-06).
                                                           7
                                                                     PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                       Case No. 3:19-cv-07071-SI
            Case 3:19-cv-07071-SI         Document 426        Filed 02/07/25      Page 11 of 11


 1   bringing this motion but for also having to bring the underlying application for a temporary restraining
 2   order. Neither motion should have been necessary to ensure that 35.CN satisfy any forthcoming judgment
 3   from this Court. Plaintiffs should therefore be made whole for having to bring these issues to the Court’s
 4   attention.4
 5   III.    CONCLUSION
 6           This Court ordered 35.CN to deposit $5.5 million into a U.S. escrow account by January 31, 2025,
 7   and the deadline has come and gone without a word of explanation—let alone the required deposit—from
 8   35.CN or its counsel. Plaintiffs therefore respectfully request that the Court hold 35.CN in civil contempt
 9   and order: (1) that the Court seize the 35.com domain name asset from 35.CN—while allowing 35.CN to
10   continue to use the domain name—by ordering Verisign, Inc. (the registry for the domain name) to lock
11   the 35.com domain name and to deposit with the Court documents sufficient to establish the Court’s
12   control and authority regarding the disposition of the registration and use of the domain name; (2) that the
13   Court enter the asset freeze requested in Plaintiffs’ prior ex parte application for a temporary restraining
14   order freezing assets (ECF Nos. 408, 413, 414), with the addition of (a) an accounting requirement for
15   35.CN’s possible sale of its registrar business, and (b) an order to the Internet Corporation for Assigned
16   Names and Numbers to withhold its consent and object to any request for assignment of the related
17   registrar accreditation; and (3) that Plaintiffs be awarded their reasonable attorneys’ fees both in bringing
18   this motion and bringing the underlying ex parte application for a TRO.
19
20   DATED: February 7, 2025                               Tucker Ellis LLP
21                                                         By: /s/David J. Steele
                                                                David J. Steele
22
                                                                Howard A. Kroll
23                                                              Steven E. Lauridsen

24                                                              Attorneys for Plaintiffs,
                                                                META PLATFORMS, INC. (fka
25                                                              FACEBOOK, INC.)
26                                                              and INSTAGRAM, LLC

27
     4
28     Plaintiffs will submit briefing concerning their fees and the reasonableness of those fees at the
     appropriate juncture.
                                                          8
                                                                    PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT
                                                                                      Case No. 3:19-cv-07071-SI
